Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 1 of 29 Page ID #:85




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    8   Innovative Sports Management, Inc.
    9
                              UNITED STATES DISTRICT COURT
   10                        CENTRAL DISTRICT OF CALIFORNIA
   11                              WESTERN DIVISION

   12   INNOVATIVE SPORTS                                 Case No.: 2:13-cv-02535-TJH-PLA
        MANAGEMENT, INC.,
   13                                                     PLAINTIFF’S MEMORANDUM OF
                    Plaintiff,                            POINTS AND AUTHORITIES IN
   14                                                     SUPPORT OF ITS RENEWED
                                                          APPLICATION FOR DEFAULT
   15
              vs.                                         JUDGMENT BY THE COURT

   16   JOANNE PAMELA ZALDIVAR,
        individually and d/b/a COPAN SULA
   17
        RESTAURANT,
   18
                    Defendant.
   19
        TO THE HONORABLE COURT, THE DEFENDANT AND TO HER
   20
        ATTORNEYS OF RECORD:
   21
              Plaintiff, Innovative Sports Management, Inc., by and through its attorneys
   22

   23   of record, submits this Memorandum in Support of its Renewed Application for
   24
        Default Judgment against Defendant Joanne Pamela Zaldivar, individually and
   25
        d/b/a Copan Sula Restaurant (hereinafter “Defendant”). For the reasons set forth
   26
   27   herein, as well as the reasons set forth in Plaintiff’s Renewed Application for
   28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 1
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 2 of 29 Page ID #:86




    1
        Default Judgment and supporting evidence, Plaintiff respectfully requests that its

    2   Renewed Application for Entry of Default Judgment be granted.
    3

    4   Dated: May 5, 2014                 /s/ Thomas P. Riley
    5                                      LAW OFFICES OF THOMAS P. RILEY, P.C.
                                           By: Thomas P. Riley
    6                                      Attorneys for Plaintiff
    7                                      Innovative Sports Management, Inc.

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                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 2
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 3 of 29 Page ID #:87



                                                 TABLE OF CONTENTS
    1                                                                                                               PAGE(S)
    2
        TABLE OF AUTHORITIES ....................................................................................ii
    3
        INTRODUCTION .................................................................................................... 3
    4
        PROCEDURAL HISTORY ................................................................................... 4
    5
        ARGUMENT ........................................................................................................... 4
    6

    7   I.       PLAINTIFF IS ENTITLED TO DEFAULT JUDGMENT AS THE
                 NINTH CIRCUIT FACTORS OUTLINED IN EITEL v. McCOOL
    8            ARE SATISFIED.......................................................................................4
    9
                 A.       Plaintiff May Bring The Claims Raised Herein.................................13
   10

   11   II.      PLAINTIFF IS ENTITLED TO STATUTORY DAMAGES AND
                 ENHANCED DAMAGES AS PERMITTED UNDER THE UNITED
   12
                 STATES CODE............................................................................................14
   13
                 A.       Congress Considers Piracy To Be Theft And Significant
   14
                          Damages Are Necessary To Curb The Pervasive Practice Of
   15                     Piracy..................................................................................................15
   16
                          1.       The Statutes Contemplate Both Specific and General
   17                              Deterrence................................................................................17
   18
                 B.       Statutory Damages Under 47 U.S.C. § 605(e)(3)(C)(i)(II)
   19                     And Enhanced Statutory Damages Under 47 U.S.C.
                          § 605(e)(3)(C)(ii)..........................................................................18
   20

   21            C.       Substantial Penalties Are Necessary To Combat
                          Piracy. .........................................................................................22
   22

   23   III.     PLAINTIFF IS ENTITLED TO DAMAGES FOR CONVERSION......23
   24
        IV.      PLAINTIFF IS ENTITLED TO COSTS AND
   25            REASONABLE ATTORNEYS FEES................................................23
   26
        CONCLUSION...............................................................................................24
   27

   28
                          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                                RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page i
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 4 of 29 Page ID #:88




    1
                                         TABLE OF AUTHORITES
    2
                                                                                                           PAGE(S)
    3   CASES
    4   Adobe Systems Inc. v. Kern,
        2009 WL 5218005 (N.D.Cal. Nov. 24, 2009) ......................................................... 6
    5
        Danning v. Lavine,
    6   572 F.2d 1386 (9th Cir. 1978) ................................................................................ 14
    7   Direct Mail Specialists v. Eclat Computerized Technologies,
        840 F.2d 685 (9th Cir. 1988) .................................................................................. 11
    8
        Directv, Inc. v. Webb,
    9   545 F.3d 837 (9th Cir. 2008) ................................................................................ 6, 8
   10   Eitel v. McCool,
        782 F.2d 1470 (9th Cir. 1986) ............................................................................ 4-12
   11
        Ellard v. Conway,
   12   94 Cal.App.4th 540 (Cal.App. 2001) ..................................................................... 11
   13   Entertainment By J & J, Inc. v. Al-Waha Enterprises, Inc.,
        219 F.Supp.2d 769 (S.D. Tex. 2002) ...................................................................... 19
   14
        Fair Housing of Marin v. Combs,
   15   285 F.3d 899 (9th Cir. 2002) .......................................................................... 5-6, 14
   16   Fogal v. Stature Const., Inc.,
        294 S.W.3d 708 (Tex.App. 2009) .......................................................................... 14
   17
        F.W. Woolworth Co. v. Contemporary Arts, Inc.,
   18   344 U.S. 228 (1952)................................................................................................ 15
   19   J & J Sports Productions, Inc. v. Brazilian Paradise, LLC,
        789 F.Supp.2d 669 (D.S.C. 2011) .......................................................................... 17
   20
        J & J Sports Productions, Inc. v. Castrillon,
   21   2009 WL 1033364 (E.D.N.Y. April 16, 2009)....................................................... 22
   22   J & J Sports Productions, Inc. v. Cubides,
        2008 WL 2756401 (S.D. Tex. July 15, 2008) ........................................................ 18
   23
        J & J Sports Productions, Inc. v. Grajales,
   24   2010 WL 2640091 (N.D.Ga. June 28, 2010) ......................................................... 16
   25   J & J Sports Productions, Inc. v. Hernandez,
        2011 WL 3319558 (E.D.Cal. Aug. 1, 2011) ........................................................ 5-6
   26
        J & J Sports Productions, Inc. v. Hernandez,
   27   2010 WL 1980186 (E.D.Cal. May 17, 2010) ........................................................... 7
   28
                          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                               RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page ii
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 5 of 29 Page ID #:89



        J & J Sports Productions, Inc. v. Herrera,
    1   2011 WL 643413 (E.D.Cal. Feb. 17, 2011) ........................................................... 17
    2   J & J Sports Productions, Inc. v. Marcaida,
        2011 WL 2149923 (N.D.Cal. May 31, 2011)............................................... 8, 16, 20
    3
        J & J Sports Productions Inc. v. Olivares,
    4   2011 WL 587466 (E.D.Cal. Feb 9, 2011) ................................................................ 8
    5   J & J Sports Productions, Inc. v. Paniagua,
        2011 WL 996257 (N.D.Cal. March 21, 2011) ......................................................... 6
    6
        J & J Sports Productions, Inc. v. Paolilli,
    7   2011 WL 6211905 (E.D.Cal. Dec. 14, 2011) ......................................................... 22
    8   J & J Sports Productions, Inc. v. Parayno,
        2013 WL 942528 (N.D.Cal. March 11, 2013) ......................................................... 9
    9
        J & J Sports Productions, Inc. v. Ramos,
   10   2012 WL 4575338 (S.D.Cal. Oct. 2, 2012) .............................................................. 6
   11   J & J Sports Productions, Inc. v. Sanchez,
        2011 WL 5041022 (S.D.Cal. Oct. 24, 2011) ...................................................... 6, 10
   12
        J & J Sports Productions, Inc. v. Tilakamonkul,
   13   2011 WL 2414550 (E.D.Cal. June 10, 2011) ................................................... 20-21
   14   J & J Sports Productions, Inc. v. Torres,
        2011 WL 6749817 (E.D.Cal. Dec. 22, 2011) ................................................. 6, 8, 10
   15
        J & J Sports Productions, Inc. v. Wood,
   16   2012 WL 33258 (N.D.Cal. Jan. 6, 2012)................................................................ 22
   17   Joe Hand Promotions, Inc. v. Bernal,
        2013 WL 1402464 (E.D.Cal. April 5, 2013) .......................................................... 12
   18
        Joe Hand Promotions, Inc. v. Gamino,
   19   2011 WL 66144 (E.D.Cal. Jan. 10, 2011) .............................................................. 17
   20   Joe Hand Promotions, Inc. v. Lynch,
        822 F.Supp.2d 803 (N.D.Ill. 2011) ......................................................................... 10
   21
        Joe Hand Promotions, Inc. v. Maryland Food & Entertainment, LLC,
   22   2012 WL 5879127 (D.Md. Nov. 19, 2012) ............................................................ 10
   23   Joe Hand Promotions, Inc. v. Sheedy,
        2011 WL 4089534 (D.S.C. July 29, 2011) ............................................................. 19
   24
        Joe Hand Promotions, Inc. v. Sorondo,
   25   2011 WL 4048786 (E.D.Cal. Sept. 9, 2011) .......................................................... 21
   26   Kingvision Pay-Per-View Ltd. v. Lake Alice Bar,
        168 F.3d 347 (9th Cir. 1999) .................................................................................... 9
   27

   28
                         PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                              RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page iii
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 6 of 29 Page ID #:90




    1   Kingvision Pay-Per-View, Ltd. v. Jasper Grocery,
        152 F.Supp. 438 (S.D.N.Y. 2001) .......................................................................... 18
    2
        Joe Hand Promotions, Inc. v. Wing Spot Chicken & Waffles, Inc.
    3   2013 WL 394400 (E.D.Va. Jan. 30, 2013) ............................................................. 21
    4   Lauretex Textile Corp. v. Allton Knitting Mills, Inc.,
        519 F.Supp. 730 (S.D.N.Y. 1981) .......................................................................... 14
    5
        PepsiCo, Inc. v. California Security Cans,
    6   238 F.Supp.2d 1172 (C.D.Cal. 2002) ................................................................. 5, 12
    7   Philip Morris USA v. Castworld Prods., Inc.,
        219 F.R.D. 494 (C.D.Cal. 2003)............................................................................... 4
    8
        Securities & Exchange Comm’n v. Internet Solutions for Business, Inc.,
    9   509 F.3d 1161 (9th Cir. 2007) ................................................................................ 11
   10   Time–Warner Cable of New York City v. Googies Luncheonette, Inc.,
        77 F.Supp.2d 485 (S.D.N.Y.1999) ......................................................................... 21
   11
        Trackman v. Kenney,
   12   187 Cal.App.4th 175 (2010) ................................................................................... 12
   13   United States ex rel. Dingle v. BioPort Corp.,
        270 F.Supp.2d 968 (D.Mich. 2003) ........................................................................ 12
   14
        Virgin Records America, Inc. v. Cantos,
   15   2008 WL 2326306 (S.D.Cal. June 3, 2008) .......................................................... 12
   16   STATUTES AND RULES
   17   United States Code
   18   47 U.S.C. § 605................................................................................................passim
   19   47 U.S.C. § 553................................................................................................passim
   20   Federal Rules of Civil Procedure
   21   4 .............................................................................................................................. 11
   22   Federal Rules of Evidence
   23   201 .......................................................................................................................... 12
   24
        California Statutes
   25
        Cal. Code Civ. § 3336............................................................................................. 22
   26
        Cal. Code Civ. Proc. § 415.20 .......................................................................... 11-12
   27

   28
                            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                                 RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page iv
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 7 of 29 Page ID #:91



        MISCELLANEOUS
    1
        N.J.S.A. § 14A:2-2.1(6) .......................................................................................... 14
    2
        U.S. Cong. & Admin. News .................................................................................... 16
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                          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                               RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page v
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 8 of 29 Page ID #:92




    1
                                          INTRODUCTION

    2           Plaintiff is an international distributor of sports and entertainment
    3
        programming. By contract, Plaintiff purchased the domestic commercial exhibition
    4

    5   rights to broadcast the Honduras v. Costa Rica, Word Cup Qualifier Game,

    6   telecast nationwide on Wednesday, April 11, 2012 via closed-circuit television
    7
        (hereinafter referred to as the “Program”). Complaint ¶ 14 (Dkt. No. 1); Jacobs
    8

    9   Decl. ¶ 3.1 This Program included all interviews and game commentary

   10   encompassed in the television broadcast of the even. Id.; Jacobs Decl.¶ 3. Pursuant
   11
        to the contract granting Plaintiff its distribution rights, Plaintiff entered into sub-
   12

   13   licensing agreements with various commercial establishments to permit the public

   14   exhibition of the Program. Complaint ¶ 15; Jacobs Decl.¶ 3.
   15
               Without the authorization of Plaintiff, Defendant unlawfully intercepted and
   16

   17   exhibited the Program at his commercial establishment, Copan Sula, operating at

   18   6030 Santa Fe Avenue, Huntington Park, CA 90255. Complaint ¶ 17; Declaration
   19
        of Affiant (submitted herewith).
   20

   21

   22

   23
        1
          There is a typographical error in the first sentence of the investigator’s affidavit indicating a
   24   date of April 11, 2011 instead of April 11, 2012. See Declaration of Affiant. However, as the
        Court will note, the handwritten date on page two of the affidavit is April 14, 2012. Id. In
   25
        addition, the notary indicates it was signed on April 14, 2012. Id. Moreover, as independent
   26   news information corroborates, the Costa Rica / Honduras match was played on April 11, 2012.
        E.g. http://us.soccerway.com/matches/2012/04/12/world/friendlies/costa-
   27   rica/honduras/1247575/. Plaintiff apologizes for the error and, given that the match was actually
        played on April 11, 2012, requests that the Court consider Plaintiff’s Complaint to be timely.
   28
                       PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                            RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 3
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 9 of 29 Page ID #:93




    1
                                        PROCEDURAL HISTORY

    2          Plaintiff filed its Complaint on April 10, 2013. (Dkt. No. 1). Defendant was
    3
        served on April 27, 2013. (Dkt. No. 5). The validity of service is addressed in
    4

    5   Argument Section I, infra. Default was entered against Defendant on June 25,

    6   2013. (Dkt. No. 7). Subsequent to the denial of an original application for default
    7
        judgment (Dkt. No. 9), this Court entered an Order directing Plaintiff to take
    8

    9   further action, which included the filing of a renewed motion for default judgment.

   10   See (Dkt. No. 10). Plaintiff now seeks default judgment against Defendant.
   11
                                                 ARGUMENT
   12

   13   I.     PLAINTIFF IS ENTITLED TO DEFAULT JUDGMENT IN THIS
               MATTER AS THE NINTH CIRCUIT FACTORS OUTLINED IN
   14          EITEL v. McCOOL ARE SATISFIED.2
   15
               The factors to be considered in ruling on an application for default judgment
   16

   17   are: (1) the possibility of prejudice to the plaintiff; (2) the merits of plaintiff's

   18   substantive claim; (3) the sufficiency of the complaint; (4) the sum of money at
   19
        stake in the action; (5) the possibility of a dispute concerning material facts; (6)
   20

   21   whether the default was due to excusable neglect; and (7) the policy favoring
   22   decisions on the merits. Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986).
   23
        “In applying this discretionary standard, default judgments are more often granted
   24

   25   than denied.” Philip Morris USA v. Castworld Prods., Inc., 219 F.R.D. 494, 498
   26
        2
   27    This portion of the Eitel analysis presumes that Plaintiff has standing to bring its claims.
        Plaintiff addresses that issue specifically in Section I.A., infra.
   28
                       PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                            RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 4
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 10 of 29 Page ID #:94




     1
         (C.D.Cal. 2003). Upon entry of default, all well-pleaded facts in the complaint are

     2   taken as true, save those related to the amount of damages. Fair Housing of Marin
     3
         v. Combs, 285 F.3d 899, 906 (9th Cir. 2002).
     4

     5         With respect to prejudice, Plaintiff will be prejudiced if default is not

     6   entered because it has sustained injury as a result of the actions of Defendant and
     7
         without default judgment, Plaintiff will be left without a judicial resolution to its
     8

     9   claims and without other recourse for recovery. See PepsiCo, Inc. v. California

    10   Security Cans, 238 F.Supp.2d 1172, 1177 (C.D.Cal. 2002).
    11
               The second and third Eitel factors “require that a plaintiff state a claim on
    12

    13   which the plaintiff may recover.” PepsiCo, Inc., 238 F.Supp.2d at 1175. To prevail

    14   under 47 U.S.C. § 605 or 47 U.S.C. § 553, Plaintiff must demonstrate that it has a
    15
         proprietary interest in the Program and that Defendant unlawfully intercepted,
    16

    17   received, published, divulged, displayed, and/or exhibited the Program at Copan

    18   Sula without the authorization of Plaintiff. See 47 U.S.C. § 605(a); 47 U.S.C. §
    19
         553(a). To prevail on the conversion claim, Plaintiff must demonstrate “ownership
    20

    21   or right to possession of property, wrongful disposition of the property right and
    22   damages.” G.S. Rasmussen & Assoc. v. Kalitta Flying Serv., 958 F.2d 896, 906
    23
         (9th Cir. 1992). In this case, Plaintiff’s Complaint properly alleges the elements of
    24

    25   the above causes of action and, therefore, the first two factors of the Eitel analysis
    26   are satisfied. See Complaint ¶¶ 13-22, 23-27, 28-31; see J & J Sports Productions,
    27
         Inc. v. Hernandez, 2011 WL 3319558, *4 (E.D.Cal. Aug. 1, 2011). Similarly, as all
    28
                      PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                           RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 5
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 11 of 29 Page ID #:95




     1
         well-pled allegations of fact are taken as true, Plaintiff has also satisfies the fifth

     2   Eitel factor. See Adobe Systems Inc. v. Kern, 2009 WL 5218005, *6 (N.D.Cal.
     3
         Nov. 24, 2009), citing Fair Housing of Marin, 285 F.3d at 906. In J & J Sports
     4

     5   Productions, Inc. v. Sanchez, 2011 WL 5041022 (S.D.Cal. Oct. 24, 2011), the

     6   district court held that, “because Plaintiff has sufficiently plead the claims asserted
     7
         and offered a sworn affidavit from the investigator who observed and documented
     8

     9   Defendants' violation, dispute as to material facts is unlikely.” Id. at *2. Plaintiff

    10   submits the same evidence herein. California district courts have routinely found
    11
         similar allegations sufficient to state a claim and have routinely granted default
    12

    13   judgment based on similar allegations. E.g. J & J Sports Productions, Inc. v.

    14   Ramos, 2012 WL 4575338, *2 (S.D.Cal. Oct. 2, 2012); J & J Sports Productions,
    15
         Inc. v. Paniagua, 2011 WL 996257 (N.D.Cal. March 21, 2011); Hernandez, 2011
    16

    17   WL 3319558 at *5.

    18         While entry of default necessitates a finding of liability under both sections
    19
         605 and 553, Plaintiff only seeks liability and damages on its claim under 47
    20

    21   U.S.C. § 605 (as well as its claim for conversion). There is a split of authority as to
    22   whether an interception may violate both 47 U.S.C. § 605 and 47 U.S.C. § 553.
    23
         See J & J Sports Productions, Inc. v. Torres, 2011 WL 6749817, *4 (E.D.Cal. Dec.
    24

    25   22, 2011). However, it is accepted that a satellite interception violates section 605
    26   and that a cable interception violates section 553. Id. at*4, citing Directv, Inc. v.
    27
         Webb, 545 F.3d 837, 844 (9th Cir. 2008).
    28
                      PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                           RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 6
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 12 of 29 Page ID #:96




     1
               In its original Order denying Plaintiff’s first motion for default judgment,

     2   this Court also noted that 47 U.S.C. § 553 addresses communications that travel
     3
         over a cable system, and 47 U.S.C. § 605 addresses communications via radio
     4

     5   (which includes satellite transmissions). Order at 1-2 (Dkt. No. 14) (citations

     6   omitted). The Court also held, however, that “Innovative has not alleged that
     7
         Defendant intercepted communication over a cable system or that Defendant
     8

     9   intercepted radio or satellite communication.” Order at 2. While Plaintiff

    10   acknowledges that the words “cable” and “satellite” are not utilized in the 605 and
    11
         553 counts, that does not mean that Plaintiff is not entitled to default judgment.
    12

    13         In J & J Sports Productions, Inc. v. Hernandez, 2010 WL 1980186

    14   (E.D.Cal. May 17, 2010), the Court was faced with the substantially similar issue
    15
         and nonetheless granted default judgment:
    16

    17         Here, plaintiff has not alleged whether the transmission that defendant
               intercepted was from a cable system or a satellite television signal. As
    18         plaintiff's brief correctly suggests, a split of authority has developed
    19         regarding the scope of section 605(a) in that numerous courts have
               concluded that section 605(a) applies exclusively to broadcasts
    20         obtained by way of a satellite television signal, as opposed to
    21         transmissions over a cable system, and that section 553 applies
               exclusively to transmission over a cable system. . . .
    22

    23         At a minimum, plaintiff's complaint and evidence support a
               conclusion that defendant intercepted, without authorization, a
    24         transmission of the Program and broadcast it to its patrons. Plaintiff
    25         essentially concedes that its complaint and the record contain no
               allegations or evidence substantiating the nature of the transmission
    26         that was intercepted by defendant. Plaintiff argues, however, that
    27         although it was unable to allege the precise means of transmission in
               this case (i.e., transmission over a cable system or satellite broadcast),
    28
                      PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                           RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 7
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 13 of 29 Page ID #:97




     1
                it “should not be prejudiced” given defendant's failure to appear or
                defend itself in this action. (Pl.'s Memo. of P. & A. in Supp. of
     2          Application for Default J. at 3, Dkt. No. 12, Doc. No. 12–2.) The
     3
                undersigned agrees with plaintiff that under the circumstances of this
                case, where plaintiff was deprived of the opportunity to conduct
     4          discovery regarding the transmission at issue because of defendant's
     5          failure to appear or defend itself in this action, plaintiff should not
                suffer the resulting prejudice.
     6

     7   Id. at *4.

     8          Similarly, in this case, due to Defendant’s failure to appear and/or
     9
         participate, Plaintiff cannot isolate the precise method of interception and requests
    10

    11   that the Court award damages under 47 U.S.C. § 605. Torres, 2011 WL 6749817 at

    12   *5. In J & J Sports Productions, Inc. v. Marcaida, 2011 WL 2149923, *2
    13
         (N.D.Cal. May 31, 2011), also a default judgment case, the district court held:
    14

    15          Plaintiff cannot determine the precise means Defendant used to
                receive the program unlawfully. . . Based on the declaration of
    16          Plaintiff's investigator and Plaintiff's failure to respond to this
    17          litigation, the Court finds it appropriate to award damages under 47
                U.S.C. § 605. . . . Plaintiff has adequately pleaded facts in support of
    18          each of his claims. Taking these facts as true as the Court must,
    19          Plaintiff's claims have merit.
    20   Id. at *2 (emphasis added); see also J & J Sports Productions Inc. v. Olivares,
    21
         2011 WL 587466, *2 (E.D.Cal. Feb 9, 2011) (“Having accepted the well pleaded
    22

    23   allegations of the complaint as true, Plaintiff is entitled to judgment based on
    24   Defendants' violation of 47 U.S.C. § 605.”). Such a finding is also in keeping with
    25
         the Ninth Circuit’s observation that obtaining direct evidence of signal
    26
    27   interception is difficult. See Webb, 545 F.3d at 844 (“The law does not require
    28
                      PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                           RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 8
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 14 of 29 Page ID #:98




     1
         direct evidence to support a factual finding. Circumstantial evidence may be

     2   sufficiently persuasive. Signal piracy is by its very nature a surreptitious venture
     3
         and direct evidence may understandably be hard to come by.”).3
     4

     5          Other district courts have held that when the pleadings do not specify

     6   whether the broadcast was intercepted by satellite or cable the court should default
     7
         to finding liability and awarding damages under section 553. E.g. J & J Sports
     8

     9   Productions, Inc. v. Parayno, 2013 WL 942528, *2 (N.D.Cal. March 11, 2013)

    10   (“Plaintiff does not specifically allege or submit evidence of the manner in which
    11
         Defendant intercepted the Program, by either satellite dish or by cable box, but it is
    12

    13   unlikely to have been both. . . . Courts in this district have held that when the

    14   method of interception is not alleged, damages are more appropriately analyzed
    15
         under § 553 because a cable box is more easily hidden.”); G & G Closed Circuit
    16

    17   Events, LLC v. Thao Xuan Vo, 2012 WL 899955, *2 (N.D.Cal. March 15, 2012).

    18   Nonetheless, the common thread in all of the cases, whether judgment was
    19
         ultimately found under section 605 or 553, is that default judgment was entered
    20

    21   and damages were awarded. If this Court is inclined to agree with those Courts that
    22   apply section 553, the analysis herein is essentially the same. However, the
    23

    24

    25

    26   3
          In Kingvision Pay-Per-View Ltd. v. Lake Alice Bar, 168 F.3d 347, 349, n.1 (9th Cir. 1999), the
    27   Ninth Circuit upheld a finding of liability for piracy although there was no discussion as to the
         specific statute to be applied. That issue, however, was not addressed by the parties. Id.
    28
                        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                             RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 9
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 15 of 29 Page ID #:99




     1
         minimum and maximum awards are lower under section 553. See 47 U.S.C. §

     2   605(e)(3)(C); 47 U.S.C. § 553(c)(3).4
     3
                As to the amount of money at stake, the amount requested by Plaintiff for its
     4

     5   federal claim is reasonable in that it is within the range authorized by Congress

     6   pursuant to statute. See e.g. 47 U.S.C. §§ 605(e)(C)(3)(i)(II) and (e)(3)(ii). The
     7
         amount Plaintiff seeks for its conversion count is simply the value of the property
     8

     9   at the time of its conversion. Because Plaintiff is an aggrieved party under section

    10   605, Plaintiff is entitled to the damages permissible by statute, and thus this factor
    11
         weighs in favor of default judgment. See Sanchez, 2011 WL 5041022 at *2
    12

    13   (holding that “the sum of money at stake is not substantial” when Plaintiff sought

    14   maximum damages). In addition, because this Court has discretion to award
    15
         less than the statutory maximum, even if this factor weighed against default
    16

    17   judgment, it does not outweigh the other factors. Torres, 2011 WL 6749817 at *5.

    18          Next, there is no evidence that the failure of Defendant to respond was due
    19
         to excusable neglect. As indicated by the sworn proof of service on file herein,
    20

    21

    22   4
           It has also been consistently been held that a complaint alleging violations of 47 U.S.C. §§ 605
    23   and 553, but without identifying whether the interception was by cable or satellite is valid. E.g.
         Joe Hand Promotions, Inc. v. Maryland Food & Entertainment, LLC, 2012 WL 5879127, *4
    24   (D.Md. Nov. 19, 2012) (“Joe Hand's complaint does in fact sufficiently state causes of action
         against Maryland Food under sections 553 and 605 of the Cable Act. . . . The complaint need not
    25   specify the precise method of interception . . . [.]”; Joe Hand Promotions, Inc. v. Lynch, 822
         F.Supp.2d 803, 805-06 (N.D.Ill. 2011) (denying motion to dismiss for failure to state a claim and
    26
         holding, “[t]he mutual exclusiveness of § 605 and § 553 is well-established law. In light of that
    27   legal principle, any complaint asserting that a single action violates both statutes can only be
         interpreted as stating alternative claims.”).
    28
                        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                             RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 10
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 16 of 29 Page ID
                                   #:100



   1
       Defendant was properly served via substitute service. Proof of Service. A sworn

   2   proof of service constitutes “prima facie evidence of valid service which can be
   3
       overcome only by strong and convincing evidence.” Securities & Exchange
   4

   5   Comm’n v. Internet Solutions for Business, Inc., 509 F.3d 1161, 1166 (9th Cir.

   6   2007) (emphasis added). Federal Rule of Civil Procedure 4(e)(1) allows for the
   7
       “borrowing” of a state service of process provision. California allows for substitute
   8

   9   service at a usual place of business on “a person apparently in charge.” C.C.P. §

  10   415.20(b). Federal Rule of Civil Procedure 4 “is a flexible rule that should be
  11
       liberally construed so long as a party receives sufficient notice of the complaint.”
  12

  13   Direct Mail Specialists v. Eclat Computerized Technologies, 840 F.2d 685, 688

  14   (9th Cir. 1988). This flexibility standard also applies to substitute service under
  15
       California Code of Civil Procedure § 415.20. See Ellard v. Conway, 94
  16

  17   Cal.App.4th 540, 544 (Cal.App. 2001).

  18         Defendant was served at her usual place of business through a person in
  19
       Charge (Sophia Grandes). Proof of Service. “The term ‘usual place of business’
  20

  21   includes a defendant's customary place of employment as well as his own business
  22   enterprise.” C.C.P. § 415.20 (Judicial Council Comment). Defendant is the owner
  23
       and operator of Copan Sula and is specifically identified on the liquor license for
  24

  25   Copan Sula (and was at the time of the Program). See Complaint ¶¶ 7, 8;
  26
  27

  28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 11
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 17 of 29 Page ID
                                   #:101



   1
       http://www.abc.ca.gov/datport/LQSdata.asp?ID=528015775, and thus Copan Sula

   2   is Defendant’s business enterprise.
   3
              As noted in the Declaration of Diligence, Plaintiff attempted to serve
   4

   5   Defendant on three prior occasions. Proof of Service at 3. This is sufficient for

   6   purposes of substitute service. See Bein v. Brechtel-Jochim Group, Inc., 6
   7
       Cal.App.4th 1387, 1391-92 (1992) (two or three unsuccessful attempts at personal
   8

   9   service satisfies reasonable diligence and allows substitute service to be made).

  10   After being unsuccessful, Plaintiff effectuated service by leaving it with a person
  11
       in charge at Defendant’s business address as required by C.C.P. § 415.20. Service
  12

  13   was made on “Sophia Grandes - Person in Charge.” Proof of Service at 1. Ms.

  14   Grandes was informed of the nature of documents and instructed to deliver the
  15
       documents to Defendant. Id. at 1, 3. California has consistently upheld such
  16

  17   service. Trackman v. Kenney, 187 Cal.App.4th 175, 182-83 (2010); Joe Hand

  18   Promotions, Inc. v. Bernal, 2013 WL 1402464, *2 (E.D.Cal. April 5, 2013)
  19
       (upholding similar “Doe” service). Finally, Plaintiff then mailed the documents to
  20

  21   Defendant as required by Rule 415.20(b). Proof of Service at 3. The failure of
  22
       5
  23     This Court may take judicial notice of this information as it was obtained from an official
       government website and it is “capable of accurate and ready determination by resort to sources
  24   whose accuracy cannot reasonably be questioned.” Fed.R.Evid. 201(b)(2); see United States ex
       rel. Dingle v. BioPort Corp., 270 F.Supp.2d 968, 972 (D.Mich. 2003) (“Public records and
  25   government documents are generally considered not to be subject to reasonable dispute . . . .
       This includes public records and government documents available from reliable sources on the
  26
       Internet.”).
  27

  28
                     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                          RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 12
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 18 of 29 Page ID
                                   #:102



   1
       Defendant to respond despite being properly served establishes that his default was

   2   not due to excusable neglect. Virgin Records America, Inc. v. Cantos, 2008 WL
   3
       2326306, *3 (S.D.Cal. June 3, 2008).
   4

   5         The only Eitel factor that weighs in favor of the Defendant is the last, the

   6   policy favoring decisions on the merits. Of course, this factor arguably always
   7
       weighs against the entry of default judgment. Moreover, “Defendant's failure to
   8

   9   answer Plaintiffs’ Complaint makes a decision on the merits impractical, if not

  10   impossible.” PepsiCo, Inc., 238 F.Supp.2d at 1177. Finally, this factor, standing
  11
       alone, is not enough to preclude default judgment. Id. When all of the Eitel factors
  12

  13   are considered, it is clear that default judgment is appropriate in this case.

  14         A.     Plaintiff May Bring The Claims Herein.
  15
             This Court has a duty to ascertain whether Plaintiff has standing to bring its
  16

  17   claims. In previous cases, this Court expressed concerns regarding the underyling

  18   licensing agreement at issue; Plaintiff addresses the licensing agreement below.
  19
       Based on the following, Plaintiff submits that it is the proper party herein.
  20

  21         The name by which Innovative Sports Management, Inc. is identified in the
  22   opening paragraph of the August 2011 agreement is “Integrated Sports Media,
  23
       Inc.” See Jacobs Decl. ¶ 5; (Exhibit 1). There is also an inadvertent reference to an
  24

  25   “LLC” in the agreement. Id. The name appearing above Mr. Jacobs’ signature in
  26   the August 2011 agreement is “Integrated Sports Media.” Id. The inclusion of
  27
       “Inc.” in the introductory paragraph and later “LLC” in paragraph 10, was
  28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 13
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 19 of 29 Page ID
                                   #:103



   1
       inadvertent and the result of drafting errors. Id.. Innovative Sports Management,

   2   Inc. is organized and exists under the laws of New Jersey. Innovative Sports
   3
       Management, Inc. is registered to do business as “Integrated Sports Media and
   4

   5   Marketing.” Id. ¶ 6. Within the industry, “Integrated Sports” and “Integrated

   6   Sports Media” are shorthands for the d/b/a designation. Id.6
   7
              Ultimately, as Mr. Jacobs testifies, “while the August 2011 contract does not
   8

   9   correctly identify that the contracts are with Innovative Sports Management, Inc.,

  10   it was always the intention of the parties that Innovative Sports Management, Inc.
  11
       was entering into the contracts, and that the rights granted were granted solely to
  12

  13   Innovative Sports Management, Inc.” Jacobs Decl. at ¶ 7.

  14   II.    PLAINTIFF IS ENTITLED TO STATUTORY DAMAGES AND
  15          ENHANCED STATUTORY DAMAGES AS PERMITTED UNDER
              THE UNITED STATES CODE.
  16

  17          Defendant’s default serves as an admission of Plaintiff’s well-pled

  18   allegations of fact with respect to liability. Danning v. Lavine, 572 F.2d 1386,
  19
       1388 (9th Cir. 978). Default, however, does not establish damages. Fair Housing
  20

  21   of Marin, 285 F.3d at 906. Plaintiff addresses damages below.
  22          A party aggrieved under section 605 may, at its discretion, recover either
  23
       actual or statutory damages. 47 U.S.C. § 605(e)(3)(C). Plaintiff elects to recover
  24

  25
       6
        While these shorthands are not identified on the Assumed Name registration, this does not
  26   prohibit the ability to contract. N.J.S.A. § 14A:2-2.1(6); see Fogal v. Stature Const., Inc., 294
  27   S.W.3d 708, 717 (Tex.App. 2009) (interpreting similar assumed name provision and finding
       arbitration agreement valid notwithstanding improper assumed name designation).
  28
                      PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                           RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 14
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 20 of 29 Page ID
                                   #:104



   1
       statutory damages. Statutory damages are appropriate where actual damages are

   2   difficult to prove. Lauretex Textile Corp. v. Allton Knitting Mills, Inc., 519
   3
       F.Supp.730, 732 (S.D.N.Y. 1981). The lack of adequate proof of any particular
   4

   5   element causes the Court to rely, within its discretion, on the statutory limitations.

   6   F.W. Woolworth Co. v. Contemporary Arts, Inc., 344 U.S. 228, 233 (1952).
   7
             Plaintiff requests statutory damages pursuant to 47 U.S.C. §
   8

   9   605(e)(3)(C)(i)(II). The amount of statutory damages permitted by this section

  10   shall be not less than $1,000.00 nor more than $10,000.00. Id. In addition,
  11
       Plaintiff respectfully requests “enhanced” statutory damages pursuant to section
  12

  13   605(e)(3)(C)(ii) (permitting this Court, in its discretion, to award up to $100,000 in

  14   additional damages where “the violation was committed willfully and for the
  15
       purposes of direct or indirect commercial advantage or private financial gain . . .
  16

  17   .”). Plaintiff will refer to damages for willful behavior as “enhanced” statutory

  18   damages. Within the parameters of the statutory limits, Plaintiff respectfully
  19
       requests that this Court utilize its discretion to make an award that both sufficiently
  20

  21   compensates Plaintiff and functions as an effective deterrent.
  22         A.     Congress Considers Piracy To Be Theft And Significant
  23                Damages Are Necessary To Curb The Pervasive Practice Of
                    Piracy.
  24

  25         When Congress enacted the Communications Act, it was keenly aware of
  26   the detrimental impact of piracy. In fact, Congress has equated a violation of the
  27
       piracy statutes to theft. Cable Communications Policy Act of 1984, House Report
  28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 15
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 21 of 29 Page ID
                                   #:105



   1
       No. 98-934, 5 U.S. Cong. News. ’84 Bd. Vol. -6, 4655, 4720 (emphasis added). As

   2   stated in the House Bill:
   3
             The Committee is extremely concerned with a problem which is
   4         increasingly plaguing the cable industry-the theft cable service . . .
   5
             Theft of services deprives the cable industry of millions of dollars of
   6         revenue each year which it should otherwise be receiving. The
   7         Committee believes that theft of cable service poses a major threat to
             the economic viability of cable operators and cable programmers, and
   8         creates unfair burdens on cable subscribers who are forced to
   9         subsidize the benefits that other individuals are getting by receiving
             cable service without paying for it.
  10

  11   Cable Communications Policy Act of 1984, House Report No. 98-934, 5 U.S.

  12   Cong. News. ’84 Bd. Vol. -6, 4655, 4720 (emphasis added). The concerns raised
  13
       by Congress when passing the legislation continue to exist. J & J Sports
  14

  15   Productions, Inc. v. Grajales, 2010 WL 2640091, *3 (N.D.Ga. June 28, 2010)

  16   (“Violations like those Violations like those of Defendant are part of a widespread
  17
       and serious piracy problem currently plaguing the television industry.”).
  18
  19         With the severe impact of piracy in mind, Congress specifically designed 47
  20   U.S.C. § 605 (and its counterpart 47 U.S.C. § 553), to provide “both Prosecutor[s]
  21
       and civil plaintiffs [with] the legal tools they need to bring piracy under control.”
  22

  23   Trademark & Satellite Acts, P.L.-6678, 1988 U.S. Cong. & Admin. News 7, 5577,
  24   5658. In assessing damages herein, Plaintiff requests that the Court take the
  25
       purpose of the legislation into account and recognize that an “award of modest
  26
  27   damages does not satisfy the purpose of the legislation.” J & J Sports Productions,
  28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 16
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 22 of 29 Page ID
                                   #:106



   1
       Inc. v. Brazilian Paradise, LLC, 789 F.Supp.2d 669, 677 (D.S.C. 2011). As noted

   2   in J & J Sports Productions, Inc. v. Herrera, 2011 WL 643413, *4 (E.D.Cal. Feb.
   3
       17, 2011), the Court must be “mindful that minimal damages awards may result in
   4

   5   a perceived lack of consequence for signal piracy.”

   6                1.      The Statutes Contemplate both Specific and
   7                        General Deterrence.

   8         A primary goal of piracy awards is deterrence. Marcaida, 2011 WL
   9
       2149923 at *4 (“[T]he Court notes that signal piracy is a pervasive and increasing
  10

  11   problem and that a primary purpose of § 605 is to deter such conduct. . . .”). The

  12   piracy statutes contemplate both specific and general deterrence. Joe Hand
  13
       Promotions, Inc. v. Gamino, 2011 WL 66144, *4 (E.D.Cal. Jan. 10, 2011)(“the
  14

  15   amount of damages awarded should be in an amount that is adequate to deter these

  16   Defendants and others from committing similar acts in the future.”). In Brazilian
  17
       Paradise, LLC, the court held:
  18
  19         The court, recognizing the need to deter this unlawful activity, agrees
             with the Plaintiff that the award of modest damages does not satisfy
  20         the purpose of the legislation. The undersigned is in agreement with
  21         other courts that have considered this issue that a firm judicial hand is
             required to stop this predatory behavior, which is outright thievery,
  22         and to compensate the aggrieved appropriately.
  23
       Id., 789 F.Supp.2d at 676-77 (internal quotation omitted) (emphasis added)
  24

  25   (awarding $5,000 in statutory damages and $15,000 in enhanced damages when
  26   program was shown on three televisions to between 32-36 patrons). In addition,
  27
       when considering the impact that deterrence should have on an award, the Court
  28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 17
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 23 of 29 Page ID
                                   #:107



   1
       should also be aware that detecting piracy is difficult. J & J Sports Productions,

   2   Inc. v. Cubides, 2008 WL 2756401, *2 (S.D.Tex. July 15, 2008) (“[T]he difficulty
   3
       in detecting unlawful interception, the widespread problem of piracy, the
   4

   5   projected loss to plaintiff, and the need for an award sufficient to deter future

   6   piracy by defendants and others, weigh in favor of granting maximum statutory
   7
       damages.”).
   8

   9         B.      Statutory Damages Under 47 U.S.C. § 605(e)(3)(C)(i)(II) And
                     Enhanced Statutory Damages Under 47 U.S.C. §
  10                 605(e)(3)(C)(ii).
  11
             The Ninth Circuit has not set established a formula for calculating damages
  12

  13   under 47 U.S.C. § 605, and this Court has considerable discretion in awarding

  14   statutory and enhanced statutory damages. See 47 U.S.C. § 605(e)(3)(C)(i)(II) and
  15
       (c)((ii); J & J Sports Productions, Inc. v. Guzman, 2008 WL 2682605, *4-5
  16

  17   (E.D.Cal. July 1, 2008). While some courts will look to the licensing fee to

  18   determine an appropriate statutory damages award, this method undervalues the
  19
       Program and fails to compensate Plaintiff adequately. See Kingvision Pay-Per-
  20

  21   View, Ltd. v. Jasper Grocery, 152 F.Supp.438, 442 (S.D.N.Y. 2001) (“a damage
  22   award based exclusively on licensing fees would undercompensate the plaintiff
  23
       because the availability of unauthorized access to the program reduces demand and
  24

  25   depresses the prices that [plaintiff] can charge for sublicenses.”); see Joe Hand
  26   Promotions, Inc. v. Sheedy, 2011 WL 4089534, *3 (D.S.C. July 29, 2011)
  27
       (awarding five times the licensing fee as statutory damages). Similarly,“[m]erely
  28
                     PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                          RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 18
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 24 of 29 Page ID
                                   #:108



   1
       requiring [defendant] to pay the price it would have been charged to obtain legal

   2   authorization to display the Event does nothing to accomplish this objective of the
   3
       statute. There would be no incentive to cease the violation if the penalty were
   4

   5   merely the amount that should have been paid.” Entertainment by J & J, Inc. v. Al-

   6   Waha Enterprises, Inc., 219 F.Supp.2d 769, 776 (S.D.Tex. 2002).
   7
             As applied herein, on April 11, 2012, investigator Matt Brown observed the
   8

   9   unlawful exhibition of the Program at Copan Sula. Declaration of Affiant. The

  10   investigator observed the Program on one large, flat screen televisions (48”). Id.
  11
       The capacity of Copan Sula was estimated to be 200, and there were between 12-
  12

  13   14 patrons present during the broadcast of the Program. Id. Given the 200 person

  14   capacity, the cost to air the Program lawfully would have been $1,500.00. Jacobs
  15
       Decl. ¶ 8. Plaintiff requests that this Court calculate its statutory damages award on
  16

  17   a multiple of this amount that is sufficient both to compensate Plaintiff and account

  18   for both specific and general deterrence. See Joe Hand Promotions, Inc. v. Sheedy,
  19
       2011 WL 4089534, *3 (D.S.C. July 29, 2011) (awarding five times the licensing
  20

  21   fee as statutory damages).
  22         In calculating damages herein, the case of J & J Sports Productions, Inc. v.
  23
       Tilakamonkul, 2011 WL 2414550 (E.D. Cal. June 10, 2011), is instructive. In
  24

  25   Tilakamonkul, the district court noted that:
  26         Defendant's establishment is a medium sized, dine in and take out,
  27         family restaurant, with a maximum capacity of approximately sixty
             patrons. . . . Plaintiff's investigator, noted that [the establishment] was
  28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 19
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 25 of 29 Page ID
                                   #:109



   1
             “in very good condition” and is located “within the incorporated city
             limits of Merced.” The restaurant's dining area contains a sixty-inch
   2         projection style television set, sitting on an entertainment center in the
   3
             southeast corner of the room . . . . [The investigator] conducted three
             head counts. Each of the three counts revealed that eight persons were
   4         present
   5
       Id. at *3. After taking these factors into account, the Court held:
   6

   7         In light of the foregoing, this Court will recommend that the
             maximum statutory damages be awarded, to wit: $10,000.00.
   8         Moreover, because Defendant's actions were willful, coupled with the
   9         fact that the establishment is in very good condition, in an
             incorporated part of Merced, yet the number of patrons present during
  10         the exhibition of the pirated Program was low, the Court will also
  11         recommend that enhanced damages of $20,000.00 be awarded.

  12   Id. at *4. The facts of this case are similar to those in Tilakamonkul. There were
  13
       12-14 patrons in this case, as opposed to 8 patrons in Tilakamonkul, and there was
  14

  15   one television in each case.

  16         With respect to whether Defendant acted willfully and for the purpose of
  17
       financial gain, there is ample case law authority to support a finding that
  18
  19   Defendant’s actions were willful and for the purpose of financial gain. In addition,
  20   the testimony of Doug Jacobs establishes the willful nature of Defendant’s actions.
  21
       See Jacobs Decl. ¶¶ 14-15, 19-23. In Marcaida, the court noted that it was
  22

  23   extremely unlikely that the defendant inadvertently acquired the program because
  24   “signals do not descramble spontaneously, nor do television sets connect
  25
       themselves to cable distribution systems.” 2011 WL 2149923 at *3, quoting Time–
  26
  27   Warner v. Googies Luncheonette, Inc., 77 F.Supp.2d 485, 490 (S.D.N.Y.1999).
  28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 20
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 26 of 29 Page ID
                                   #:110



   1
             As stated in Joe Hand Promotions, Inc. v. Wing Spot Chicken & Waffles,

   2   Inc., 2013 WL 394000, *8 (E.D.Va. Jan. 30, 2013):
   3
             The act of intercepting an encrypted broadcast is not done by
   4         accident, but requires an affirmative action by the defendant. Very
   5         simply, the Court finds that the defendant took willful action to
             unlawfully intercept and broadcast the Exhibition. Further, the Court
   6         finds that this willful act was done for either “direct or indirect
   7         commercial advantage or private financial gain.” 47 U.S.C. §
             605(e)(3)(C)(ii). The defendant restaurant is a commercial
   8         establishment, and on the night of the Exhibition hosted
   9         approximately forty patrons, who were able to enjoy the Exhibition at
             no cost to the defendant restaurant. Each of the restaurant's six
  10         televisions showed the Exhibition. . . . Because the defendant showed
  11         the Exhibition on all of its televisions at no cost, the Court concludes
             that the defendant acted willfully for commercial advantage and
  12         private financial gain.
  13
             Finally, district courts have found the elements of section 47 U.S.C. §
  14

  15   605(e)(3)(C)(ii) satisfied by virtue of the default. Joe Hand Promotions, Inc. v.

  16   Sorondo, 2011 WL 4048786, *3 (E.D.Cal. Sept. 9, 2011) (“By default, Defendants
  17
       admitted to willfully violating Section 605 for the purposes of commercial
  18
  19   advantage”); Tilakamonkul, 2011 WL 2414550 at *4 (“By his default, Defendant
  20   has admitted to willfully violating the referenced statutes for purposes of
  21
       commercial advantage.’).
  22

  23          C.    Substantial Penalties Are Necessary To Combat Piracy.
  24         As noted in J & J Sports Productions, Inc. v. Castrillon, 2009 WL 1033364,
  25
       *3 (E.D.N.Y. April 16, 2009), “Absent substantial financial penalties, the
  26
  27   defendant will likely continue to illegally display the plaintiff's programming and
  28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 21
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 27 of 29 Page ID
                                   #:111



   1
       other such establishments will follow suit. . . . The plaintiff cannot practicably

   2   investigate all these infractions, nor should they be expected to do so.” Id. (internal
   3
       citation omitted). “In order to preserve the plaintiff's livelihood, the defendant
   4

   5   must be held accountable for an amount significant enough to deter such conduct.

   6   Absent such a deterrent, the defendant and other potential infringers will be
   7
       encouraged to violate the law, as infringement would be more cost effective than
   8

   9   contracting with the plaintiff.” Id.

  10   III.   PLAINTIFF IS ENTITLED TO DAMAGES FOR CONVERSION.
  11
              Damages for conversion are based on the value of the property at the time of
  12

  13   the conversion. Cal.Civ.Code § 3336. In this case, Plaintiff requests $1,500.00 in

  14   conversion damages (the amount Defendant would have had to pay to broadcast
  15
       the Program lawfully). Jacobs Decl. ¶ 8 (Exhibit 2, Rate Card). California district
  16

  17   courts have granted conversion damages in addition to statutory damages. J & J

  18   Sports Productions, Inc. v. Wood, 2012 WL 33258 (N.D.Cal. Jan. 6, 2012); J & J
  19
       Sports Productions, Inc. v. Paolilli, 2011 WL 6211905, *4 (E.D.Cal., Dec. 14,
  20

  21   2011) (awarding $6,200 in conversion damages in addition to $10,000 in statutory
  22   damages and $30,000 in enhanced damages).
  23
       IV.    PLAINTIFF IS ENTITLED TO COSTS AND REASONABLE
  24          ATTORNEYS’ FEES.
  25
              47 U.S.C. § 605 mandates an award of costs and attorneys’ fees to an
  26
  27   aggrieved party. Specifically, the section states that the Court, “shall direct the
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                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 22
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 28 of 29 Page ID
                                   #:112



   1
       recovery of full costs, including awarding reasonable attorneys' fees to an

   2   aggrieved party who prevails.” 47 U.S.C. § 605(e)(3)(B)(iii) (emphasis added).
   3
       Plaintiff requests that it be granted 14 days from the entry of judgment to submit
   4

   5   its Motion for costs and attorneys’ fees.

   6                                         CONCLUSION
   7
             Based on the foregoing, default judgment against Defendants and in favor of
   8

   9   Plaintiff is proper and should be entered with respect to Plaintiff’s claims under 47

  10   U.S.C. § 605 and Plaintiff’s claim for conversion. Plaintiff respectfully requests
  11
       that this Court use its statutory discretion to award Plaintiff damages that are
  12

  13   sufficient both to compensate Plaintiff and to act as both a specific and general

  14   deterrent against future piracy.
  15

  16

  17   Dated: May 5, 2014                  /s/ Thomas P. Riley
                                           LAW OFFICES OF THOMAS P. RILEY, P.C.
  18                                       By: Thomas P. Riley
  19                                       Attorneys for Plaintiff
                                           Innovative Sports Management, Inc.
  20

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                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page 23
Case 2:13-cv-02535-TJH-PLA Document 11-1 Filed 05/05/14 Page 29 of 29 Page ID
                                   #:113



   1
                                        PROOF OF SERVICE

   2         I declare that:
   3
              I am employed in the County of Los Angeles, California. I am over the age
   4   of eighteen years and not a party to the within cause; my business address is First
   5   Library Square, 1114 Fremont Avenue, South Pasadena, California 91030. I am
       readily familiar with this law firm’s practice for collection and processing of
   6   correspondence/documents for mail in the ordinary course of business.
   7         On May 5, 2014, I caused to serve the following document entitled:
   8
             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES
   9         IN SUPPORT OF ITS RENEWED APPLICATION FOR DEFAULT
             JUDGMENT BY THE COURT
  10

  11         On all parties referenced by enclosing a true copy thereof in a sealed
       envelope with postage prepaid and following ordinary business practices, said
  12
       envelope was addressed to:
  13
             Joanne Pamela Zaldivar (Defendant)
  14
             6030 Santa Fe Avenue
  15         Huntington Park, CA 90255
  16
              The fully sealed envelope with pre-paid postage was thereafter placed in our
  17   law firm’s outbound mail receptacle in order that this particular piece of mail
       could be taken to the United States Post Office in South Pasadena, California later
  18
       this day by myself (or by another administrative assistant duly employed by our
  19   law firm).
  20
              I declare under the penalty of perjury pursuant to the laws of the United
  21   States that the foregoing is true and correct and that this declaration was executed
       on May 5, 2014, at South Pasadena, California.
  22

  23
       Dated: May 5, 2014                                  /s/ Maria Baird
  24                                                       MARIA BAIRD
  25

  26
  27

  28
                    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                         RENEWED APPLICATION FOR DEFAULT JUDGMENT BY THE COURT – Page vi
